         Case 5:24-cv-01085-XR   Document 60-3   Filed 04/08/25   Page 1 of 7
   Jesus Saenz                                                          November 20, 2024
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·1· · · · · ·IN THE UNITED STATES DISTRICT COURT
· · · · · · · FOR THE WESTERN DISTRICT OF TEXAS
·2· · · · · · · · · SAN ANTONIO DIVISION
·3 SOUTHWEST AIRLINES CO.,· · )
···············)
·4· · · · Plaintiff· · · · · ·)
···············)
·5 VS.· · · · · · · · · · · · ) Civil Action No.
· · · · · · · · · · · · · · · ) 5:24-cv-01085-XR
·6· · · · · · · · · · · · · · )
· ·THE CITY OF SAN ANTONIO,· ·)
·7 TEXAS and JESUS SAENZ, in· )
· ·his official capacity as· ·)
·8 Director of Airports for· ·)
· ·the City of San Antonio,· ·)
·9 Texas,· · · · · · · · · · ·)
···············)
10· · · · Defendant· · · · · ·)
· ·******************************************************
11
· · · · · · · · · VIDEO/ORAL DEPOSITION OF
12
· · · · · · · · · · · · ·JESUS SAENZ
13
· · · · · · · · · · · NOVEMBER 20, 2024
14
· ·******************************************************
15· · ·VIDEO/ORAL DEPOSITION of JESUS SAENZ, produced as
16 a witness at the instance of the PLAINTIFF, SOUTHWEST
17 AIRLINES CO., and duly sworn, was taken in the
18 above-styled and numbered cause on the 20th day of
19 November, 2024, from 1:01 p.m. to 5:48 p.m., before
20 Monique M. Sarosdy, CSR in and for the State of Texas,
21 reported by machine shorthand, at the offices of
22 AIRPORT BUSINESS CENTER, 10100 Reunion Place, 8th
23 Floor, San Antonio, TX· 78216, pursuant to the Federal
24 Rules of Civil Procedure and the provisions stated on
25 the record or attached hereto.




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·2 FOR THE PLAINTIFF, SOUTHWEST AIRLINES CO.:               · · · · · · Scenarios, 3/27/24, Bates label
· · · · Roy Goldberg
·3· · · CLARK HILL PLC                                      ·2· · · · · COSA001702-1706
· · · · 1001 Pennsylvania Avenue N.W., Suite 1300 South     ·3 39· · ·E-mail dated 2/6/24, Bates label ...........175
·4· · · Washington, D.C.· 20004                             · · · · · · COSA0005715-5716
· · · · (202) 552-2388                                      ·4
·5· · · rgoldberg@clarkhill.com
·6· · · Lawrence Morales II                                 · ·40· · ·San Antonio International Airport, The .....178
· · · · THE MORALES LAW FIRM, P.C.                          ·5· · · · · New Terminal:· Demand, Growth and
·7· · · 6243 IH-10 West, Suite 132                          · · · · · · Development, PowerPoint, Bates label
· · · · San Antonio, TX· 78201                              ·6· · · · · COSA0001643, COSA0001655-1657,
·8· · · (210) 225-0811
· · · · lawrence@themoralesfirm.com                         · · · · · · COSA0005968-5970
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11· · · W. Eric Pilsk
· · · · KAPLAN KIRSCH LLP                                   ·9· · · · · COSA0006531-6534
12· · · 1634 I Street NW, Suite 300                         10 42· · ·Executive Steering Committee PowerPoint ....192
· · · · Washington, D.C.· 20006                             · · · · · · document, Bates label COSA0003311-3328
13· · · (202) 955-5600                                      11
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· · · · Debbie Klein                                        12
15· · · CITY OF SAN ANTONIO                                 13· · · · · · · · · · · · ·-o-O-o-
· · · · 203 S. Saint Mary's Street, 2nd Floor               14
16· · · San Antonio, TX· 78205
· · · · (210) 207-8919                                      15
17· · · deborah.klein@sanantonio.gov                        16
18 THE VIDEOGRAPHER:                                        17
· · · · TIMOTHY DESADIER                                    18
19
· ·ALSO PRESENT:                                            19
20· · · ANGELA J. MAYEUX                                    20
· · · · (In-House Counsel for Southwest)                    21
21                                                          22
22· · · · · · · · · · · ·* * * * * *                        23
23
24                                                          24
25                                                          25
                                                  Page 3                                                            Page 5
·1· · · · · · · · · · · · I N D E X                         ·1· · · · · · · ·THE VIDEOGRAPHER:· We are now on the
·2 Appearances .........................................3
·3· · · · · · · · · · · · · · · · · · · · · · · · · FIRST   ·2 record.· This begins videotape number one in the
· · · · · · · · · · · · · · · · · · · · · · · · REFERENCE   ·3 deposition of Jesus Saenz in the matter of Southwest
·4
· ·JESUS SAENZ                                              ·4 Airlines Company vs. the City of San Antonio, Texas,
·5· · Examination By Mr. Goldberg: .....................6   ·5 et al in the United States District Court for the
·6 NOTE:· PORTIONS OF THE TRANSCRIPT (PAGE 91, LINE 12
· ·THROUGH PAGE 98, LINE 10) WERE DESIGNATED ATTORNEYS'     ·6 Western District of Texas, San Antonio Division.
·7 EYES ONLY AND HAVE BEEN BOUND SEPARATELY
·8· · · · · · · · · · · · EXHIBITS
                                                            ·7· · · · · · · ·Today is November 20th, 2024 and the
·9 28· · ·E-mail dated 1/9/24, Bates label ............37   ·8 time is 1:01 p.m.· This deposition is being taken at
· · · · · · COSA0005796
10                                                          ·9 10100 Reunion Place, San Antonio, Texas at the request
· ·29· · ·E-mail dated 1/9/24, Bates label ............44   10 of the Morales Firm, PC.· The videographer is Timothy
11· · · · · COSA0005791-5792, COSA0005718-5719
12 30· · ·San Antonio Report article ..................57   11 Desadier of Magna Legal Services and the court
13 31· · ·Terminal Development Program PowerPoint .....65   12 reporter is Monique Sarosdy of Magna Legal Services.
· · · · · · document, Bates label COSA0006127-6148
14                                                          13· · · · · · · ·Will counsel and all parties present
· ·32· · ·Terminal Development Program PowerPoint .....66   14 state their appearances and whom they represent.
15· · · · · document, Bates label COSA0005510-5533
16 33· · ·Summary of Decision-Making Process for ......81   15· · · · · · · ·MR. GOLDBERG:· Roy Goldberg from Clark
· · · · · · Post-DBO Gate and Club Locations, Bates         16 Hill on behalf of the plaintiff, Southwest Airlines
17· · · · · label COSA0001973-1974
18 34· · ·Meeting Minutes, Executive Steering .........81   17 Co.
· · · · · · Committee, 6/14/24, Bates label
19· · · · · COSA0003347-3352                                18· · · · · · · ·MR. MORALES:· Lawrence Morales on behalf
20 35· · ·Gating Placement Analysis Worksheet, .......114   19 of Southwest Airlines.
· · · · · · Bates label COSA0003474-3482
21                                                          20· · · · · · · ·MS. MAYEUX:· Angela Mayeux, in-house
· ·36· · ·Meeting Minutes, Executive Steering ........157   21 counsel, Southwest Airlines.
22· · · · · Committee, 5/3/24, Bates label
· · · · · · COSA0003304-3309                                22· · · · · · · ·MS. KLEIN:· Debbie Klein, City of
23                                                          23 San Antonio, City Attorney's Office on behalf of the
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24· · · · · Committee, 2/9/24, Bates label                  24 City of San Antonio and Jesus Saenz.
· · · · · · COSA0003074-3080, COSA0001703-1706              25· · · · · · · ·MR. PILSK:· Eric Pilsk, Kaplan Kirsch,
25




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·1· · ·Q.· ·And this is dated February 15, 2023, it's       ·1· · ·A.· ·Yes, sir.
·2 called "New Terminal Design Signals Major Billion        ·2· · ·Q.· ·Did you ever have a conversation with city
·3 Dollar Changes at San Antonio Airport," do you see       ·3 manager, Erik, with a K, Walsh, W-A-L-S-H regarding
·4 that?                                                    ·4 the designs for the new terminal?
·5· · ·A.· ·I do.                                           ·5· · ·A.· ·Yes, sir.
·6· · ·Q.· ·And it's written by a Shari Biediger, do you    ·6· · ·Q.· ·Did you ever discuss with Mr. Walsh having
·7 know who that is, B-I-E-D-I-G-E-R?                       ·7 club lounges in the new terminal?
·8· · ·A.· ·Yes, sir.· She's a reporter.                    ·8· · ·A.· ·I don't remember if we specifically discussed
·9· · ·Q.· ·Did she interview you for this article?         ·9 club lounges.· Like if you're asking me in a
10· · ·A.· ·I don't remember but she must have if it's      10 conversation just with me and the city manager?
11 written.                                                 11· · ·Q.· ·Yes.
12· · ·Q.· ·So it says, "Airport officials unveiled a       12· · ·A.· ·I know that in the design as the information
13 model and renderings of a new San Antonio terminal       13 is reported to the Executive Steering Committee, that
14 airport Wednesday that city manager, Erik Walsh, said    14 information is shared with everyone that attends the
15 changes the pathway for this region for a very long      15 meeting.
16 time," do you see that?                                  16· · ·Q.· ·Did you ever have a conversation between you
17· · ·A.· ·Yes, sir.                                       17 and Mr. Walsh as to his hopes and desires for what the
18· · ·Q.· ·Okay.· Then it says, "Conceptual renderings     18 new terminal would become?
19 show a bright and modern airport terminal bigger than    19· · ·A.· ·Sure.
20 the two existing terminals combined with up to 17        20· · ·Q.· ·Okay.· Tell us about that.
21 gates, lengthy passenger departure and arrival lanes,    21· · ·A.· ·The City of San Antonio has on a number of
22 spacious waiting areas and club lounges and a lushly     22 occasions issued out a master planning effort and has
23 landscaped open air courtyard"; is that right?           23 not necessarily executed on those master plans and it
24· · ·A.· ·Yes, sir.                                       24 is his -- you know, I don't want to speak for the city
25· · ·Q.· ·So that was the plan as of these conceptual     25 manager, but in our conversations, the City needs to

                                                 Page 59                                                     Page 61
·1 renderings in February 2023, correct?                    ·1 improve its overall aviation footprint as it relates
·2· · ·A.· ·Yes, sir.                                       ·2 to the amount of capacity we have for terminals, the
·3· · ·Q.· ·And is that what is currently also still        ·3 amount of air service that we provide, so
·4 being planned and proposed for Terminal C?               ·4 specifically, you know, service into Mexico, service
·5· · ·A.· ·Well, there's a number of changes as you go     ·5 into South America, service -- European service and
·6 through the design, it's the reason we went with a       ·6 continuing to grow the City as the airport works to
·7 delivery method of a construction manager, so it's       ·7 grow and expand for -- you know, to have better
·8 constantly under design.· When we started --             ·8 economic impact to the City.· So the airport is a very
·9· · ·Q.· ·Sorry.· Will it be bright and modern?           ·9 important engine in order for those things to happen
10· · ·A.· ·Yes, sir.                                       10 and for people to do business, and his constant
11· · ·Q.· ·Will it be bigger than the two existing A and   11 request or ask of me is, hey, let's help grow the
12 B combined?                                              12 airport so that can help grow the economic impact of
13· · ·A.· ·Yes, sir.                                       13 the City.
14· · ·Q.· ·Will it be up to 17 gates?                      14· · ·Q.· ·Were club lounges in the master plan, if you
15· · ·A.· ·To be determined still.· We're still in         15 can recall?
16 design.                                                  16· · ·A.· ·I don't remember that.
17· · ·Q.· ·Will there be club lounges?                     17· · ·Q.· ·Goes on for quite a bit.· On Page 4 of 5, it
18· · ·A.· ·As of right now, yes.                           18 says that Councilman Clayton Perry, D10, asks what
19· · ·Q.· ·What do you mean "as of right now," that may    19 will be done to Terminals A and B to bring them up to
20 change?                                                  20 standards.· "Those passengers coming in and out of
21· · ·A.· ·It could.· Right now it's in design and         21 Terminal A and B may never ever see Terminal C," he
22 carriers have already requested to place lounges.· So    22 said.· "Saenz responded that the new terminal will
23 it's being designed with those lounges.                  23 become a central processor connecting to Terminal B,
24· · ·Q.· ·And it will be lushly landscaped open air       24 but Terminal A, built in 1984, has nearly reached the
25 courtyard, that's part of it too currently?              25 end of its life expectancy."· Then it says, quoting




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                                                      Page 62                                                        Page 64
·1 you, "We feel like we can get still another five to            ·1· · ·Q.· ·Generally speaking?
·2 eight years after that, but after that, it's a                 ·2· · ·A.· ·I don't want to answer incorrectly and give
·3 demolition," correct, you said that?                           ·3 you a wrong date and be held to that, so I apologize.
·4· · ·A.· ·That is correct.                                      ·4 I just don't remember the exact dates.· But we did
·5· · ·Q.· ·And so five to eight years after 2013, I took         ·5 advance Terminal A planning that led to the decision
·6 math from the gym coach, but basically, we're talking          ·6 of how long the terminals could last and we wanted to
·7 about the end of the decade, right?                            ·7 continue to work towards, you know, adding additional
·8· · ·A.· ·Correct.                                              ·8 capacity, at which point, we made the decision to add
·9· · ·Q.· ·And is that still your understanding, that by         ·9 three additional gates, two into Terminal B and one
10 the end of this decade, Terminal A goes kaput?                 10 into Terminal A, which those gates are now utilized.
11· · ·A.· ·No, sir.                                              11 And then currently to date, to additional capacity
12· · ·Q.· ·So what's changed between this article, which         12 because of the growth patterns that we've been
13 I assume you meant that at the time, and today?                13 experiencing, we added the ground load facility, and
14· · ·A.· ·We've made a lot of investment into Terminal          14 we plan to open that ground load facility adjacent to
15 A as it relates to mechanical, electrical and                  15 Terminal A in October of 2025.· So somewhere in that
16 plumbing.· So we've put pretty close to a hundred              16 timeline, as we were making those decisions and we
17 million dollars' worth of work into Terminal A to              17 were connecting the ground load facility to Terminal
18 continue to, you know, extend the life expectancy of           18 A, we made the decision that Terminal A still has a
19 Terminal A.                                                    19 lot of life expectancy into it and we want to continue
20· · ·Q.· ·But as of February 2023, you thought Terminal         20 to grow the amount of air service that we have here
21 A was going to be demolished, and sitting here today,          21 out of San Antonio International Airport.
22 you're saying it's not, when was the decision made to          22· · · · · · · ·MR. GOLDBERG:· Why don't we take a
23 put that extra money in into retaining Terminal A, and         23 ten-minute break.
24 how long do you expect to keep Terminal A?                     24· · · · · · · ·THE VIDEOGRAPHER:· Going off the record.
25· · ·A.· ·Well, we feel like we can continue to extend          25 Time is 2:09.

                                                        Page 63                                                        Page 65
·1 the life of Terminal A.· There was a Terminal A                ·1· · · · · · · ·(Recess from 2:09 to 2:24.)
·2 assessment that was performed that outlined some of            ·2· · · · · · · ·THE VIDEOGRAPHER:· Back on the record.
·3 the needs, but it wasn't a very high level detail.· So         ·3 Time is 2:24.
·4 as we went through the Airline Use and Lease Agreement         ·4· · · · · · · ·(Exhibit No. 31 marked.)
·5 with the carriers, we made the decision that we would          ·5· · ·Q.· ·(BY MR. GOLDBERG)· Director Saenz, did you go
·6 do an assessment of Terminal A and Terminal B and then         ·6 to Southwest Airlines on April 2nd, 2024 to talk about
·7 make the capital investment to help bring those                ·7 the Terminal Development Program?
·8 terminals further along.                                       ·8· · ·A.· ·We did go to Southwest Airlines, I don't
·9· · ·Q.· ·So in February 2023, you said to the                  ·9 remember the exact date, but yes, sir, we did.
10 reporter, "Terminal A is going to be demolished," was          10· · ·Q.· ·Around that time frame?
11 that still the state of affairs by the end of 2023?            11· · ·A.· ·Yes, sir.
12· · ·A.· ·I'm taking my time because I'm trying to              12· · ·Q.· ·What was the purpose of that meeting?
13 remember when --                                               13· · ·A.· ·Discuss the update on the Terminal
14· · ·Q.· ·Sure.· That changed, yeah.                            14 Development Program.
15· · ·A.· ·We've made a lot of investments.· I mean, I           15· · ·Q.· ·Had a decision at that point been made, that
16 think about mechanical work that we have done, we've           16 Southwest would not be allowed to go to Terminal C?
17 done electrical work into the terminal --                      17· · ·A.· ·No, sir.
18· · ·Q.· ·Sorry.· But when was the switch flipped, that         18· · ·Q.· ·Had Corgan, at that point, recommended to the
19 all of a sudden, if you had been talking to a reporter         19 ESC that Southwest not be permitted to go to Terminal
20 after this article, you would have said, no, Terminal          20 C?
21 A is staying for a long time?                                  21· · ·A.· ·No, sir.
22· · ·A.· ·In the advanced terminal planning documents           22· · ·Q.· ·Okay.· And was a PowerPoint part of the
23 that we completed post the strategic development               23 airport's meeting with Southwest Airlines?· Was one
24 program, and I don't remember the exact dates, I               24 prepared?
25 apologize.                                                     25· · ·A.· ·Yes, sir.




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·1 was a factor that was considered?                              ·1 aircraft fitting into specific, whether you have J
·2· · ·A.· ·I don't know what fit means.                          ·2 lines, a safety envelope or how an aircraft is going
·3· · ·Q.· ·That's what I was going to ask you.· Okay.            ·3 to, you know, button up to a jet bridge.
·4 You just don't know.· Whoever drafted this must have           ·4· · ·Q.· ·Was that a discussion in the ESC with regard
·5 had an understanding but you're not aware.                     ·5 to the airlines, what their fit was in that context?
·6· · ·A.· ·I don't know what fit means.                          ·6· · ·A.· ·I don't know what fit means here is where
·7· · ·Q.· ·Well, did you ever in the ESC discussions or          ·7 I'm -- is what I would share with you.
·8 any other discussion leading up to the decision talk           ·8· · ·Q.· ·As airport director, did you believe that the
·9 about airline fit into San Antonio?                            ·9 new terminal should have large airline clubs?
10· · ·A.· ·I don't remember that, sir.                           10· · ·A.· ·No.
11· · ·Q.· ·What about, "The airline's service growth and         11· · ·Q.· ·Did Corgan make a recommendation that the new
12 experience."· Was that a factor that was considered in         12 terminal have airline clubs?
13 the gating decision?                                           13· · ·A.· ·I don't remember if they made that
14· · ·A.· ·I would say growth is.· I don't know how              14 recommendation or not.
15 service and experience play into a role of deciding            15· · ·Q.· ·Do you remember the City asking Corgan
16 why an airline would get into a certain gate because           16 whether or not the new terminal should have airline
17 that's what -- that's what's being referenced here.            17 clubs?
18 Now, service can be interpreted a lot of different             18· · ·A.· ·I don't remember if that was -- if that was
19 ways.· Are you servicing international, are you                19 asked of the City to Corgan.· I just --
20 servicing domestic or is it your overall level of              20· · ·Q.· ·Do you understand whether Corgan as an
21 customer service?· I don't know what they're -- what           21 architect or engineering firm, would they have any say
22 is trying to be said here.· So I would say -- now              22 into whether or not an airline club was going into the
23 growth is a factor to say, hey, I'm going to go from X         23 airport?· Would that be part of what they were -- the
24 number of gates to X -- to Y number of gates, well             24 work they were doing for you for the City?
25 then okay, then that could be a factor.· Your                  25· · ·A.· ·I'd have to go back and look at their

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·1 experience, not sure why that would play a factor into         ·1 contractual agreement as the master architect to
·2 why -- whether you've been in operation and you've got         ·2 determine whether that's in their request or not. I
·3 approval to operate an aircraft commercially at this           ·3 just don't have it in front of me.· I apologize.
·4 airport, whether it's one year or ten years.· I'd have         ·4· · ·Q.· ·So we could go to their -- there's an
·5 to have a better definition of what experience means           ·5 agreement with the City, they were hired?
·6 before I'd say.                                                ·6· · ·A.· ·Yes, sir.
·7· · ·Q.· ·Would you agree with me that airline clubs            ·7· · ·Q.· ·And there's -- there'll be a scope of
·8 are a service that an airline offers to passengers?            ·8 services.
·9· · ·A.· ·Yes, sir.                                             ·9· · ·A.· ·There will be.
10· · ·Q.· ·And in selecting Delta and American for               10· · ·Q.· ·And that document, one or another -- we've
11 Terminal C, the airline agreement to lease club space          11 asked for it.· We just received some documents like
12 in the terminal was a significant factor, correct?             12 yesterday from Corgan.
13· · · · · · · ·MR. PILSK:· Objection; asked and                 13· · ·A.· ·Okay.
14 answered.· You can answer.                                     14· · ·Q.· ·But one way or another, that should tell us
15· · · · · · · ·THE WITNESS:· It's a factor.· I wouldn't         15 whether or not the City told Corgan that the City
16 say it's a significant factor.                                 16 wanted Corgan's recommendation as to whether an
17· · ·Q.· ·(BY MR. GOLDBERG)· And you don't know what            17 airline club should be included, correct?
18 was referenced in this document regarding fit of the           18· · ·A.· ·Yeah.· As part of the work that they're
19 carrier?                                                       19 performing, the recommendation was established on
20· · ·A.· ·No, sir.                                              20 where the -- pros and cons were of the gating
21· · ·Q.· ·Would that be an appropriate factor to                21 assignments.
22 consider in deciding where to place a carrier, what            22· · ·Q.· ·During 2024, were you concerned as to how
23 the fit of the carrier is with the City?                       23 Southwest would react to not being assigned to the new
24· · ·A.· ·I have an interpretation of fit as I read             24 Terminal C?
25 this document, and I take into consider size of                25· · ·A.· ·I was concerned on how all carriers would




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·1· · ·A.· ·I do.                                                   ·1· · ·A.· ·A Frontier or Allegiant.
·2· · ·Q.· ·Do you see -- do you recall sitting here                ·2· · ·Q.· ·And did you also mention legacy carrier?
·3 today any ranking of airlines in connection with the             ·3· · ·A.· ·Yeah, legacy carriers.
·4 decision-making process for the Post-DBO gate and club           ·4· · ·Q.· ·So that would be like American or Delta.
·5 locations?                                                       ·5· · ·A.· ·Or United, yeah.
·6· · ·A.· ·I remember seeing a lot of models, I just               ·6· · ·Q.· ·Okay.· Do you recall any discussion at the
·7 don't remember seeing the exact scoring sheet.                   ·7 ESC level about the nature of whether a carrier was
·8· · ·Q.· ·Did you see any scores at all assigned to               ·8 low cost, ultra low cost or legacy as a factor to
·9 airlines for purposes of the decision?                           ·9 consider in deciding which carriers would be permitted
10· · ·A.· ·No, sir.                                                10 to move into Terminal C?
11· · ·Q.· ·So then it says in the next paragraph, "The             11· · ·A.· ·No, sir.
12 EPM," so that would be ANSER or Brandenburg, "and MA,"           12· · ·Q.· ·Do you think that would have been a
13 which would be Corgan "and a member from each of the             13 legitimate consideration for the ESC to consider,
14 SAT ALUA team and the SAT TDP team reviewed and                  14 whether a carrier was low cost, ultra low cost or
15 considered nonquantifiable considerations, among which           15 legacy carrier?
16 were the carrier's fit into San Antonio," and then it            16· · ·A.· ·No, sir.
17 says "relating to desirability of passenger profile,             17· · ·Q.· ·Why not?
18 business, leisure, mix, et cetera, and the airline               18· · ·A.· ·It's not -- you're not basing the type of
19 brand position, network, ULCC, established startup,              19 service that the aircraft provides on how we're going
20 et cetera," do you see that language?                            20 to best balance the overall utilization of the carrier
21· · ·A.· ·I do.                                                   21 placements throughout the terminal complexes.· We're
22· · ·Q.· ·So does that give you an understanding as to            22 looking at, as I mentioned earlier, how many
23 what fit meant above?                                            23 passengers are you servicing, how are we going to best
24· · ·A.· ·It does.                                                24 balance out the utilization of everything that's --
25· · ·Q.· ·Okay.· So what's that understanding now?                25 that's being utilized at the airport, of which some is

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·1· · ·A.· ·Based on the type of aircraft, whether that             ·1 going to be domestic and some is going to be
·2 be business, leisure or mix of what type of service              ·2 international, and what is going to be available.
·3 they provide.                                                    ·3 That's the information, as I understand, that was
·4· · ·Q.· ·When you say "aircraft business, leisure or             ·4 considered into the recommendations that were going
·5 mix," do you mean aircraft or do you mean service?               ·5 there, amongst a lot of other technical data.
·6· · ·A.· ·I mean, both.· You have different sizes of              ·6· · ·Q.· ·Other than checking the scope of the Corgan
·7 aircraft and you have domestic service and you have              ·7 agreement, do you know today whether or not Corgan was
·8 international service.· You have leisure service and             ·8 asked to consider desirability of passenger profile,
·9 you have, you know, business service.· You have low              ·9 business, leisure, mix, et cetera, and airline brand
10 cost carrier, ultra low cost carrier and you have                10 position, network, ULCC, established startup,
11 legacy.· There's a lot of mix into that.                         11 et cetera, when making its recommendation to the City
12· · ·Q.· ·Do you think that was an appropriate factor             12 on the gate placement?
13 to consider in deciding the Post-DBO gate and club               13· · ·A.· ·I do not, sir.· I don't remember that.
14 locations?                                                       14· · ·Q.· ·Would you have ever asked Corgan to consider
15· · ·A.· ·I think it's dependent on how it's being                15 those factors?
16 utilized.· I mean, there's a lot of factors that are             16· · ·A.· ·No, sir.
17 being considered.· I just don't know exactly how it              17· · ·Q.· ·Why not?
18 was being considered.                                            18· · ·A.· ·The basis of the way we were making the
19· · ·Q.· ·You reference the term, I think, ultra low              19 decisions, as I understood them, were based on the
20 cost carrier or low cost carrier?                                20 technical data as the number of passengers that you're
21· · ·A.· ·Uh-huh.· Both.                                          21 servicing and how we were going to best balance out
22· · ·Q.· ·And which is Southwest in your understanding?           22 the terminal complex for the utilization of all the
23· · ·A.· ·Low cost carrier.                                       23 gates and whether that be domestic or internationally,
24· · ·Q.· ·Okay.· And so what's an example of an ultra             24 that's how the decision was brought forward to us with
25 low cost carrier?                                                25 specific pros and cons.· So there's a lot of factors




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·1 to provide to our passengers that come into the city         ·1 the aircraft and the size of aircraft that you're
·2 of San Antonio, whether you're coming from any               ·2 utilizing?
·3 international market.· And I'm just trying to explain        ·3· · ·Q.· ·We're talking about a 737.· One has first
·4 to you that when you asked me the question not               ·4 class, one doesn't.· Does that make -- does that have
·5 specific to American Airlines, but the decision is           ·5 any relevance to where that aircraft is going to be
·6 made for the international service on the cabin size         ·6 provided a gate?
·7 that you're --                                               ·7· · · · · · · ·MR. PILSK:· Objection; argumentative.
·8· · ·Q.· ·But this document refers to American Airlines       ·8 You can answer.
·9 and it talks about a split cabin.· And if that               ·9· · · · · · · ·THE WITNESS:· No.
10 reference is to a split cabin, meaning first class and       10· · ·Q.· ·(BY MR. GOLDBERG)· Based on this document, if
11 economy, on a domestic flight from San Antonio to            11 it applied to the recommendation, that appears to have
12 Los Angeles, for example, is that an appropriate             12 been one of the considerations, correct?
13 consideration for determining that American gets to go       13· · ·A.· ·Based on this document, yes, sir.
14 to Terminal C, the fact that they offer a split cabin        14· · ·Q.· ·Okay.· Thank you.
15 whereas Southwest does not have multiple services -- a       15· · · · · · · ·So the next document, I'm sorry, the
16 split cabin?· Is that appropriate in your                    16 next page in this is for Delta.· Do you see that
17 understanding to have been considered?                       17 there?
18· · ·A.· ·I don't know why the document was -- or how         18· · ·A.· ·Yes, sir.
19 it was produced, so I can't answer that specifically.        19· · ·Q.· ·Okay.· And that also has various points
20· · ·Q.· ·So it could be okay to do that.                     20 awarded, you see?· For example, airline club request,
21· · ·A.· ·Well, I'm just telling you, from an                 21 seven points.· Seven out of seven, do you see that?
22 international perspective --                                 22· · ·A.· ·I do.
23· · ·Q.· ·We're not talking about international now           23· · ·Q.· ·Okay.· And then go a couple more pages, and
24 though, we're talking about split cabin domestic.            24 by the way, they had it -- and that page, 3479,
25 American is domestic as of this document.                    25 recommendation C next to international gate, do we see

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·1· · ·A.· ·Yes, sir.                                           ·1 that there?· Are you with me?
·2· · ·Q.· ·No international.· I'm not talking about it.        ·2· · ·A.· ·I'm getting there.
·3· · · · · · · ·This says split cabin, and I'm just            ·3· · ·Q.· ·Okay.
·4 asking you, curious to know what your thought is, do         ·4· · ·A.· ·Yeah.
·5 you think it's appropriate for the City to have              ·5· · ·Q.· ·And just to be clear, 3476 did recommend
·6 decided that American can go to Terminal C, at least         ·6 Terminal C for American, but it doesn't say anything
·7 in part because it offers split cabin versus Southwest       ·7 about an international gate there, the way it does
·8 that offers a single cabin?                                  ·8 there for Delta, correct?· Do you see that?
·9· · ·A.· ·No, sir.                                            ·9· · ·A.· ·Correct.
10· · ·Q.· ·And why would not -- why would that                 10· · ·Q.· ·And Page 3479, it says "Fit into SAT.
11 consideration not be appropriate?                            11 Network carrier, business traveler appeal plus leisure
12· · ·A.· ·There's a lot of -- you're not just making it       12 appeal," right?
13 off of one factor.· There's a lot of factors that go         13· · ·A.· ·Yes, sir.
14 into the decision.                                           14· · ·Q.· ·What significance does the fact that it's a
15· · ·Q.· ·But is that one factor okay to consider?            15 business traveler have as to the decision to put Delta
16· · ·A.· ·It could be.                                        16 into Terminal C, if it does?
17· · ·Q.· ·Okay.· Why is that?                                 17· · ·A.· ·I don't know.
18· · ·A.· ·It just depends on the utilization of the           18· · ·Q.· ·Would that be appropriate?
19 aircraft that you're going to bring and how you're           19· · ·A.· ·No, sir.
20 going to service that aircraft.                              20· · ·Q.· ·And why is that?
21· · ·Q.· ·How does it matter whether or not a 737 has a       21· · ·A.· ·We're not basing the decision if you should
22 first class cabin or doesn't have a first class cabin        22 go into a terminal based on the type of traveler that
23 and it's the same size aircraft, how does that               23 you're providing service to.
24 possibly impact what you're talking about?                   24· · ·Q.· ·Could you if you wanted to, or would that be
25· · ·A.· ·Are you -- it's based on where you're parking       25 improper?




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